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     Proposed Counsel for Debtor
 6
 7                          UNITED STATES BANKRUPTCY COURT

 8                                   DISTRICT OF ARIZONA
 9   In re:                                             Chapter 11 Proceeding
10   ARCTIC CATERING, INC.                              Case No. 2:18-bk-13118-EPB
11                                Debtors.             SUPPLEMENT TO EMERGENCY
                                                       MOTION AUTHORIZING
12                                                     PAYMENT OF PRE-PETITION
13                                                     WAGES, SALARIES, EMPLOYEE
                                                       BENEFITS, AND RELATED ITEMS
14
                                                       Hearing Date: October 29, 2018
15                                                     Hearing Time: 2:30 p.m.
                                                       Courtroom: 601
16
                                                       Location: 230 N 1st Ave, Phoenix, AZ
17                                                     85003

18            Arctic Catering, Inc., debtor and debtor-in-possession (the “Debtor”) in the above-
19   referenced chapter 11 case (the “Bankruptcy Case”) submits this Supplement to the
20   Emergency Motion Authorizing Payment of Pre-Petition Wages, Salaries, Employee
21   Benefits, and Related Items [DE 7] to respectfully seek permission of the Court to pay
22   $8,922.48 to Colonial Life Insurance for a life insurance payment owed on behalf of all of
23   its Employees that arose pre-petition. In the ordinary course, the Debtor offers
24   supplemental disability, accident, critical illness, and cancer insurance to be paid by its
25   Employees through Colonial Life Insurance. The Employees make a monthly payment to
26   Colonial to maintain the coverage. The payment to Colonial Life represents the entire
27   amount owed for all Employees who have opted to pay for the additional insurance
28


 Case 2:18-bk-13118-EPB        Doc 12 Filed 10/28/18 Entered 10/28/18 14:15:37         Desc
                                Main Document    Page 1 of 3
1
     through Colonial Life. When combined with pre-petition Wages and Benefits, the pre-
2
     petition amounts to be paid to each Employee are still under the priority cap imposed by
3
     Section 507(a)(4) of $12,850.00.
4
           For this reason and the reasons set forth in the Wages Motion, the Debtor
5
     respectfully requests the Court permit it to pay the pre-petition amounts owed to Colonial
6
     Life for its Employees.
7
                         RESPECTFULLY SUBMITTED this 28th day of October, 2018.
8
                                              MAY, POTENZA, BARAN & GILLESPIE,
9                                             P,C.

10
                                              By s/ Grant L. Cartwright
11                                              Grant L. Cartwright
                                                Andrew A. Harnisch
12                                              Proposed Counsel for Debtor
13
14
15
     COPY of the foregoing mailed or emailed*
16   or faxed on October 28th, 2018, to:

17                                                   BDO
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 Case 2:18-bk-13118-EPB        Doc 12 Filed 10/28/18 Entered 10/28/18 14:15:37         Desc
                                Main Document    Page 2 of 3
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28                                              3
 Case 2:18-bk-13118-EPB     Doc 12 Filed 10/28/18 Entered 10/28/18 14:15:37         Desc
                             Main Document    Page 3 of 3
